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                   EXHIBIT A
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                            IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


ARTHUR BEKKER, individually, on                  Case No. 16-cv-06123-LTS-BCM
behalf of a class of all other persons
similarly situated, and on behalf of the         CLASS ACTION
Neuberger Berman 401(k) plan,
                                                  DECLARATION OF ANDREW PERRY
               Plaintiff,                              REGARDING NOTICE
       vs.

NEUBERGER BERMAN GROUP 401(K)
PLAN INVESTMENT COMMITTEE,,

               Defendant.




I, Andrew Perry, declare and state as follows:

       1.      I am a Senior Project Manager with KCC Class Action Services, LLC (“KCC”),

located at 462 South 4th Street, Louisville, KY 40202. The purpose of this declaration is to

provide information related to the notice administered by KCC, and to provide projected costs

for administering the Bekker v. Neuberger Berman Group class action settlement.



                                           CLASS LIST

       2.      On August 31, 2020, KCC received a zip file containing the transactional data for

Neuberger Berman Value Equity Fund (“VEF”) participants from the end of quarter 2010

through the end of 2019. KCC identified eligible transactions during the Class Period. KCC also

received a file containing the most recent contact information, date of birth, and SSNs for VEF

participants. This file included records that were not a part of the Settlement Class. KCC

matched the transactional data with the contact information to create the Class List. The Class

List contained 1,451 records.




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                                   MAILING OF THE NOTICE

        3.      On September 10, 2020, KCC caused the Notice to be printed and mailed to the

1,451 names and mailing addresses in the Class List. A true and correct copy of the Notice is

attached hereto as Exhibit A.

        4.      Since mailing the Notice to Settlement Class Members, KCC has received 40

Notices returned by the USPS with undeliverable addresses. Through credit bureau and/or other

public source databases, KCC will perform address searches for these undeliverable Notices and

promptly re-mail the Notice to the found new addresses.


                                    SETTLEMENT WEBSITE


        5.      Prior to the Notice, KCC established a website, www.nb401ksettlement.com,

dedicated to this matter to provide information to the Class Members and to answer frequ ently

asked questions. The website URL was set forth in the Notice. Visitors of the website can

download copies of the Notice and other case-related documents. As of October 11, 2020, the

website has received 147 visits.


                                     TELEPHONE HOTLINE


        6.      KCC established and continues to maintain a toll-free telephone number (1-866-

795-5076) for potential Settlement Class Members to call and speak to a live operator during

regular business hours.     The telephone hotline became operational prior to mailing and is

accessible 8 a.m. to 8 p.m. Monday through Friday. As of October 12, 2020, KCC has received

a total of 3 calls to the telephone hotline.


                            OBJECTIONS TO THE SETTLEMENT


        7.      The receipt deadline for Settlement Class Members to object to the settlement

November 5, 2020. As of the date of this declaration, KCC has received no objections to the

settlement.
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                                 DECLARATION OF ANDREW PERRY
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I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
       Executed on October 20, 2020 at Louisville Kentucky



                                                    ____________________________________
                                                                 Andrew Perry




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                                 DECLARATION OF ANDREW PERRY
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                   EXHIBIT A
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       Bekker v. Neuberger Berman Group 401(k) Investment Committee
       c/o KCC Class Action Services
       P.O. Box 43434
       Providence, RI 02940-3434


       NUB
       «Barcode»
       Postal Service: Please do not mark barcode

       Claim#: NUB-«Claim8»-«CkDig»
       «FirstName» «LastName»
       «Addr1» «Addr2»
       «City», «State»«FProv» «Zip»«FZip»
       «FCountry»



                       NOTICE OF PROPOSED CLASS ACTION SETTLEMENT
            A federal court has authorized this Notice. This is not a solicitation from a lawyer.
     PLEASE READ THIS NOTICE CAREFULLY AS IT MAY AFFECT YOUR RIGHTS
         You are receiving this notice (the “Notice”) because the records of the Neuberger Berman Group
401(k) Plan (the “Plan”) indicate that you have been a participant in the Plan and invested some or all of
your Plan account in the Neuberger Berman Value Equity Fund (“VEF”) between June 15, 2010 and
December 16, 2019. As such, your rights may be affected by a proposed Settlement of the class action
litigation in the U.S. Federal Court for the Southern District of New York titled Bekker v. Neuberger
Berman Group 401(k) Plan Investment Committee, Case No. 16-cv-06123-LTS-BCM (the “Action”).
        This Notice summarizes the proposed Settlement. Capitalized terms not defined in this Notice are
defined in the Settlement Agreement. The complete terms and conditions of the Settlement are described
in the Settlement Agreement, which is available at www.nb401ksettlement.com, by contacting Class
Counsel, Mark G. Boyko at mboyko@baileyglasser, by accessing the Court docket in this case, for a fee,
through the Court’s Public Access to Court Electronic Records (PACER) system at
https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of the Court for the United States
District Court for the Southern District of New York, during public service hours, provided the office is
not closed to the public due to COVID-19.
                  DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S
                      OFFICE TO INQUIRE ABOUT THIS SETTLEMENT.
                                             What this Litigation is About
       This class action litigation is brought on behalf of participants in the Plan. Arthur Bekker is the
Named Plaintiff and the representative on behalf of all members of the Class in the litigation. The lawsuit
was originally filed on August 2, 2016. The Class is generally defined as All Participants in the Neuberger
Berman Group 401(k) Plan during the period from June 15, 2010 through December 16, 2019, who had
any portion of their Plan accounts, at any time during that period, invested in the VEF.
        Plaintiff originally sued Neuberger Berman Group LLC, Neuberger Berman LLC, Neuberger
Berman Trust Company N.A, Marvin Schwartz, and the Neuberger Berman Group 401(k) Plan Investment
Committee (the “Committee” or “Defendant”). At the time of settlement, only the Committee remained
as a defendant. The complaint alleges that Defendant violated its fiduciary duties by continuing to offer
the VEF in the Plan after it began charging fees to participants and after its performance weakened.




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Plaintiff alleges that there were superior, less expensive investment options available that Defendant
should have chosen for the Plan. Plaintiff also alleges that, once the VEF began charging fees, the payment
of those fees constituted transactions prohibited by the Employee Retirement Income Security Act of 1974
(“ERISA”).
        Defendant denies all allegations of wrongdoing, fault, liability or damage to the Plaintiff and the
Class and denies that it engaged in any wrongdoing or violation of law or breach of fiduciary duties.
Defendant maintains that it acted in the best interests of Plan participants at all times and complied with
its fiduciary obligations to the Plan and its participants. Among other things, Defendant contends that the
Plan fiduciaries employed a robust and thorough process for selecting, monitoring, and removing Plan
investment options and for monitoring fees.
                                       The Terms of the Settlement
         To avoid the time and expense of further litigation, Plaintiff and Defendant have agreed to resolve
the litigation. The Settlement is the product of extensive negotiations between the parties, who were
assisted in their negotiations by a neutral private mediator. The parties have taken into account the
uncertainty and risks of litigation and have concluded that it is desirable to settle on the terms and
conditions set forth in the Settlement Agreement. If the Settlement is approved by the Court, the Class
will obtain the benefits of the Settlement without the further delay and uncertainty of additional litigation.
The Settlement resolves all issues regarding the Plan’s inclusion of the VEF and its fees from June 15,
2010 through December 16, 2019, when the VEF was removed from the Plan.
       The terms of the Settlement are set forth in the Settlement Agreement and Release dated June 10,
2020 (the “Settlement Agreement”), which is available on the Settlement Website at
www.nb401ksettlement.com. Those terms are summarized below. This Notice is a summary, and in the
event of any inconsistency, the Settlement Agreement controls. Nothing in the Settlement Agreement is
an admission or concession on Defendant’s part of any fault or liability, nor is it an admission or
concession on Plaintiff’s part that his claims lacked merit.
       1.      Who Is Covered by the Settlement?
      Plaintiff will request that the Court certify a Class, and the Settlement will apply to, and be
binding on, that Class. The Class is defined as:
       All participants in the Neuberger Berman Group 401(k) Plan during the Class Period who had
       any portion of their Plan accounts, at any time during the Class Period, in the VEF. Excluded
       from the Settlement Class are: (i) Defendant Neuberger Berman Group 401(k) Plan Investment
       Committee and those of its current and past members who served from June 15, 2010 through
       December 16, 2019; (ii) non-party Marvin Schwartz; and (iii) beneficiaries, immediate family
       members, estates, and executors of (i) and (ii).
        Plan records indicate that you may be a member of the Class because you are a current or former
participant in the Plan who invested in the VEF from June 15, 2010 through December 16, 2019.
       2.      Relief Provided to the Class by the Settlement.
       Under the proposed Settlement, Defendant will arrange for $17,000,000 to be paid into a
Settlement Fund. After payment of Settlement Administration Costs (such as the cost of distributing
this Notice), Class Counsel’s attorneys’ fees and costs, and other expenses, the remaining
Distributable Settlement Amount will be paid to the Class.




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        The Distributable Settlement Amount will be distributed to eligible Settlement Class Members
pursuant to a Plan of Allocation to be approved by the Court.1 Individual payments under the Settlement
for each Settlement Class Member will be determined in accordance with that Plan of Allocation, and
cannot be quantified with certainty for any individual Settlement Class Member at this time. That is in
part because the exact Distributable Settlement Amount and number of Settlement Class Members are not
known at this time, although a preliminary review of Plan records suggests that approximately 1,500
individuals will be included in the Class. The proposed Plan of Allocation, and other case and Settlement
documents, are available at www.nb401ksettlement.com.
        On a summary level, the Plan of Allocation will work as follows: The Settlement Administrator
will determine the Distributable Settlement Amount to be allocated to Settlement Class Members. The
Settlement Administrator will then calculate the portion of the Distributable Settlement Amount to be
allocated to each Settlement Class Member, based on that Settlement Class Member’s quarter-ending
account balances in the VEF throughout the Class Period. Thus, a Settlement Class Member’s allocation
will depend on the amount he or she had invested in the VEF during the Class Period, and for what amount
of time. To ensure that no Settlement Class Member receives less than $10, any Settlement Class Member
entitled to receive less than $10 will be allocated $10, and the remaining allocations will be adjusted
proportionally. If enough assets remain in the Settlement Fund following the initial distribution, one or
more subsequent distributions may be made pursuant to the Plan of Allocation.
        Settlement benefits will be distributed as follows: Current Plan participants with a balance in the
Plan on the Distribution Date will receive their distributions through an electronic transfer directly into
their Plan accounts, which will be invested in accordance with the Participant’s instructions for new
contributions or, absent instruction, in the Plan’s applicable default investment, which is currently the
Plan’s target date funds. Settlement Class Members who no longer maintain a balance in their Plan account
as of the Distribution Date will receive a check automatically mailed to them at the address provided in
the Settlement Administrator’s records (generally, the address where this Notice has been mailed).
        Actual allocation amounts will depend on the final Distributable Settlement Amount, the
final number of Settlement Class Members, and the individual Settlement Class Member’s
aggregate quarterly VEF Plan investment balances and number of quarters in the Plan during the
Class Period. It is possible that some Settlement Class Members may receive the minimum recovery
of $10.
       All inquiries related to distributions should be addressed solely to the Settlement Administrator at
the address listed below. In addition, if you are no longer a Plan Participant, you can contact the
Administrator to request a roll-over of your distribution into a Qualified Retirement Account via email at
info@nb401ksettlement.com. If you are still a Plan Participant, your distribution will be made into your
Plan account automatically and you do not need to request a roll-over.
         The Settlement Administrator can also be reached by mail at:
                                           Bekker v. Neuberger Berman Group
                                             c/o KCC Class Action Services
                                                     P.O. Box 43434
                                               Providence, RI 02940-3434


1        The Distributable Settlement Amount is the Settlement Amount, minus (i) the amounts approved by the Court for Class Counsel’s
Attorneys’ Fees and Expenses and Case Contribution Awards to the Named Plaintiff, (ii) Administration Costs, (iii) Independent Fiduciary
Fees and Costs, and (iv) Taxes and Tax-Related Costs.




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         3.     Summary of the Claims Released by the Class. In exchange for the Settlement Amount
and other terms of the Settlement, if the Settlement is approved, all members of the Class will release the
“Released Claims,” which are defined in the Settlement Agreement as any and all actual or potential
claims, actions, causes of action, demands, obligations, liabilities, attorneys’ fees and costs, whether under
local, state or federal law, whether by statute, contract, common law or equity, whether brought in an
individual, representative or any other capacity, whether known or unknown, suspected or unsuspected,
asserted or unasserted, foreseen or unforeseen, actual or contingent, liquidated or unliquidated, against the
Released Parties through the date the Court enters the Final Approval Order and Judgment (including,
without limitation, any Unknown Claims) arising out of or in any way related to: (a) the conduct alleged
in the Complaint or the First Amended Complaint and any subsequent pleading or legal memorandum
filed in the Action; (b) the selection, retention, and monitoring of the VEF as a Plan investment option;
(c) the performance, fees, and any other characteristic of the VEF; and (d) the approval by the Independent
Fiduciary of the Settlement.
        Settlement Class Members will not have the right to bring any Released Claims against the
Defendant or other Released Parties. “Released Parties” is defined in the Settlement Agreement and means
(1) Defendant and, as applicable, each of its predecessors, successors, past, present and future members,
fiduciaries, affiliates, agents, and representatives and each of their descendants, dependents, beneficiaries,
marital community, heirs, executors, and administrators; (2) the Company (Neuberger Berman Group
LLC) and each of its past, present and future parents, subsidiaries, affiliates, divisions, businesses,
employee benefit plans, and related entities; (3) the Plan and each of its past, present and future trustees,
fiduciaries (except the Independent Fiduciary), parties in interest, committees and committee members,
employees, service providers, investment consultants, managers, administrators, actuaries, agents,
representatives; (4) the VEF; and (5) each of the past, present, and future officers, directors, partners,
shareholders, trustees, fiduciaries, employees, managers, insurers, attorneys, experts, agents and
representatives of the entities and individuals in (1) through (4).
     The entire release is set forth in the Settlement Agreement, which can be viewed online at
www.nb401ksettlement.com, or requested from the Settlement Administrator or Class Counsel.
                                    The Settlement Approval Process
        The Court has granted preliminary approval of the proposed Settlement and approved this Notice.
The Settlement will not take effect, and there will be no benefits distributed under the Settlement, however,
if the Court does not enter a Final Approval Order and Judgment or the Settlement otherwise does not
become effective. The Court will hold a Final Approval Hearing on November 19, 2020 at 10:00 a.m. The
Court and the Parties anticipate the hearing will be conducted in Courtroom 17C at the United States
District Court for the Southern District of New York, Daniel Patrick Moynihan Building & United States
Courthouse, 500 Pearl Street, New York, New York, but the Court may, by order filed on the public
record, change the format, time or place of the hearing. Class Counsel will attend the hearing to answer
any questions the Court may have. You are not required to attend the Final Approval Hearing.
        The date, modality and location of the Final Approval Hearing are subject to change by order of
the Court without further notice to the Class. If you would like to attend the Final Approval Hearing, you
should check the Settlement Website, www.nb401ksettlement.com, or the Court’s online docket to
confirm that the date, modality or location has not been changed. Prior to the Final Approval Hearing, an
Independent Fiduciary will be asked to approve the Settlement and Released Claims on behalf of the Plan,
as may be required by ERISA Prohibited Transaction Exemption 2003-39 or any other applicable class or
statutory exemptions. The Court will be informed as to whether the Independent Fiduciary approved the




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Settlement and Released Claims on behalf of the Plan prior to ruling on the application for final approval
of the Settlement.
                             The Opportunity to Object to the Settlement
       As a Settlement Class Member, you can ask the Court to deny approval of the Settlement by filing
an objection. You cannot, however, ask the Court to order a settlement on different terms; the Court can
approve or reject the Settlement only on the terms reached by the Parties. If the Court denies approval, the
Settlement Amount will not be distributed and the litigation will resume.
        Any objection to the proposed Settlement must be made in writing. If you file a timely written
objection, you may, but are not required to, appear at the Final Approval Hearing, either in person or
through your own attorney. If you appear through your own attorney, you are responsible for hiring and
paying that attorney. All written objections and supporting papers must be served upon Class Counsel and
counsel for Defendant, and submitted to the Court either by mailing to the Clerk of the Court, United
States District Court for the Southern District of New York, 500 Pearl Street, Room 120, New York, NY
10007, or by filing in person at any location of the United States District Court for the Southern District
of New York. The objection must be filed (actually received by the Court) on or before November 5, 2020.
Each objection must contain (a) the name and case number of the Action (Bekker v. Neuberger Berman
Group 401(k) Plan Investment Committee, Case No. 16-cv-06123-LTS-BCM); (b) the Settlement Class
Member’s full name, address, telephone number, and signature; (c) a statement that the person submitting
the comments or objections is a Settlement Class Member and an explanation of the basis upon which the
person claims to be a Settlement Class Member; (d) all grounds for the objection, accompanied by any
legal support known to the objector or his or her counsel; (e) a statement as to whether the Settlement
Class Member or his or her counsel intends to personally appear and/or testify at the Final Approval
Hearing; and (f) a list of any persons the objector or his or her counsel may call to testify at the Final
Approval Hearing in support of the objection.
        Those Settlement Class Members or their attorneys intending to appear at the Final Approval
Hearing must give notice of their intention to appear setting forth, among other things, the name, address,
and telephone number of the Settlement Class Member (and, if applicable, the name, address, and
telephone number of that Settlement Class Member’s attorney) to Class Counsel and Defendant’s Counsel
and file it with the Court Clerk on or before November 5, 2020.
       If the Court approves the Settlement, you will be bound by it and will receive whatever benefits
you are entitled to under its terms. You cannot exclude yourself (or “opt out”) from the Settlement. The
Court has conditionally certified the Class under Federal Rule of Civil Procedure 23(b)(1), which does
not permit Class Members to opt out of the Class.
                 Attorneys’ Fees and Case Contribution Award for Named Plaintiff
       The Class is represented by Class Counsel. The attorneys for the Class are as follows:
Gregory Y. Porter
Mark G. Boyko
BAILEY & GLASSER LLP
1055 Thomas Jefferson Street NW
Suite 540
Washington, DC 20007
mboyko@baileyglasser.com
314-863-5446




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         Class Counsel and the Named Plaintiff have devoted many hours to investigating the claims,
bringing this litigation, and pursuing it for four years. During that time, Class Counsel incurred litigation
expenses in addition to the time spent by attorneys, paralegals, and others. Class Counsel also took the
risk of litigation and have not been paid for their time and expenses while this litigation has been pending
before the Court.
       Class Counsel will file a motion with the Court seeking approval of reasonable attorneys’ fees and
reimbursement of the expenses they incurred in prosecuting the litigation, to be paid from the Settlement
Fund. Their request will not exceed (1) attorneys’ fees of one-third of the Settlement Amount, or
$5,666,667, and (2) reimbursement of expenses of up to $60,000.
        Plaintiff will also request that the Court approve a Case Contribution Award of $20,000 for
Plaintiff Bekker from the Settlement Fund.
        Plaintiff’s preliminary approval motion and supporting papers were filed on June 10, 2020, and
the final approval motion and fee and expense motion will be filed on or before October 20, 2020 and
September 21, 2020 respectively. You may review these filings at www.nb401ksettlement.com. Any
award of Attorneys’ Fees and Expenses and Case Contribution Awards approved by the Court, in addition
to the Administration Costs, Independent Fiduciary Fees and Costs, and Taxes and Tax-Related Costs,
will be paid from the Settlement Fund.
                                       Getting More Information
        You do not need to do anything to be a part of this Class or, if the Settlement is approved, to
be eligible to receive your share of the Settlement Fund. If you still have a Plan account with a
positive balance when Settlement Fund distributions are made, your Settlement benefits will be
distributed to your Plan account. If you no longer have a Plan account, a check will be mailed to
you.
       You can visit the Settlement Website at www.nb401ksettlement.com, where you will find the full
Settlement Agreement, the Court’s order granting preliminary approval, this Notice, and other relevant
documents. If there are any changes to the deadlines identified in this Notice, the date of the Final
Approval Hearing, or the Settlement Agreement, those changes will be posted to the Settlement Website.
You will not receive an additional mailed notice with those changes, unless separately ordered by the
Court. If you cannot find the information you need on the Settlement Website, you may also call
1-866-795-5076 for more information. Please do not contact the Court or counsel for Defendant to get
additional information.
Dated: September 10, 2020                             By Order of the United States District Court
                                                      District Judge Laura Taylor Swain




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